                             Case 6:20-cv-00057-ADA Document 8 Filed 02/04/20 Page 1 of 1


                                                                                                                         Court Stamp Here



                                                  RETURN OF SERVICE
  Notice: This document contains sensitive data

 Court
                                                   Federal Court
                             UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF TEXAS
                                                Travis County, Texas

 Plaintiff                                                                                                   Cause #
                                                     PARITY NETWORKS, LLC
                                                                                                                   6:20-CV-00057-ADA

 Defendant(s)                                                                                                Came to Hand Date/Time
                                                      AVIAT NETWORKS, INC.
                                                                                                              2/03/2020            7:14 AM

 Manner of Service                                                                                           Service Date/Time
                                                            Personal
                                                                                                              2/03/2020            9:48 AM
 Documents                                                                                                   Service Fee:


                                                  SUMMONS; COMPLAINT; EXHIBITS
                                                                                                                                   $125.00

I am certified under order of the Judicial Branch Certification Commission to serve process, including citations in Texas. I
am not a party to or interested in the outcome of this lawsuit. My information: identification number, birth date, address,
and certification expiration date appear below. I received and delivered the Specified Documents to Defendant as stated
herein.

On 2/03/2020 at 9:48 AM: I served SUMMONS, COMPLAINT and EXHIBITS upon AVIAT NETWORKS, INC. c/o C/O
CORPORATION SERVICE COMPANY, REGISTERED AGENT by delivering 1 true and correct copy(ies) thereof, with
AVIAT NETWORKS, INC. c/o C/O CORPORATION SERVICE COMPANY, REGISTERED AGENT, Who accepted
service, with identity confirmed by subject stating their name, a brown-haired white female approx. 55-65 years of
age, 5'4"-5'6" tall and weighing 140-160 lbs with glasses named Samy who is authorized to accept service at 251
LITTLE FALLS DRIVE, WILMINGTON, DE 19808.

My name is: Rodney Samuels. My date of birth is:
My address is: 28 Dillon Dr, New Castle, DE 19720, USA.
null
I declare under penalty of perjury that the foregoing, RETURN OF SERVICE, is true and correct.

            New Castle
Executed in _________________ county, DE.



                                                                                                            02/03/2020

                       Rodney Samuels                                                                       Date Executed




 Ref Parity Networks - AVIAT                                                                                Tracking # 0049528764
              0049207659                                                         DiNovo Price Ellwanger &
                                                                                 Hardy LLP
